6/3/2021 Case: 1:20-cv-0564 Osbie cLIMesTIDEPARS MEMFllenlcCOGO2Wi2 iS agaeberch Reage|ID #:110

ILLINOIS DEPARTMENT OF CORRECTIONS
INTERNET INMATE STATUS

AS OF: Thursday, June 3, 2021

M47240 - ROJAS, GABRIEL

Parent Institution: HILL CORRECTIONAL CENTER
Offender Status: IN CUSTODY
Location: HILL

PHYSICAL PROFILE

Date of Birth:
Weight:

Hair:

Sex:

Height:
Race:

Eyes:

MARKS, SCARS, & TATTOOS

TATTOO, LEG, RIGHT - TIGER

TATTOO, BACK - 18TH, CRACKED 5POINT STAR AND 5

TATTOO, BACK - "D" W/TAIL, PITCHFORK 6PT STAR,

TATTOO, HAND, LEFT - G-BALL

TATTOO, FOREARM, RIGHT - AZTEC CALENDER, "UGUALA GUERRERO

ADMISSION / RELEASE / DISCHARGE INFO

Admission Date: 03/26/2021
Projected Parole Date: 02/27/2023
Last Paroled Date: 12/12/2016

Projected Discharge Date: 02/27/2025

SENTENCING INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MITTIMUS: 19CR0616901

CLASS: 2

COUNT: 1

OFFENSE: FELON POSS/USE FIREARM PRIOR
CUSTODY DATE: 02/27/2019

SENTENCE: 7 Years 0 Months 0 Days

COUNTY: COOK

SENTENCE DISCHARGED?: | NO

MITTIMUS: 20CR0645701

CLASS: 4

COUNT: 1

OFFENSE: RESIST/OBSTRUC OFFICER/INJURY
CUSTODY DATE: 02/27/2019

SENTENCE: 1 Years 0 Months 0 Days

COUNTY: COOK

SENTENCE DISCHARGED?: | NO

MITTIMUS: 15CR1659001

CLASS: 2

COUNT: 1

OFFENSE: FELON POSS/USE FIREARM PRIOR
CUSTODY DATE: 07/19/2015

SENTENCE: 3 Years 0 Months 0 Days

COUNTY: COOK

SENTENCE DISCHARGED?: | YES

 

 

 

 

https://www.idoc state .il.us/subsections/search/inms_print.asp?idoc=M47240

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6/3/2021 Case: 1:20-cv-0564 Osbie cUIMes 1IDEPARS ME MFilencCOGO2WiD ish agaeSerck Reage|ID #:111

 

 

 

 

 

 

 

 

MITTIMUS: 12CR1665001

CLASS: 4

COUNT. 1

OFFENSE: AGG DUI LIC SUSP OR REVOKED
CUSTODY DATE: 02/19/2014

SENTENCE: 0 Years 18 Months 0 Days
COUNTY: COOK

SENTENCE DISCHARGED?: | YES

 

 

 

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